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 6             IN THE UNITED STATES DISTRICT COURT FOR THE

 7                     EASTERN DISTRICT OF CALIFORNIA

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 9   UNITED STATES OF AMERICA,

10                   Plaintiff,

11             v.                           CR. NO. S-07-0025 EJG

12   WEI JEI MA; KEVIN TRAN; MEI            SCHEDULING ORDER
     KENG LAM; JASON TUAN HOANG;
13   JUN XIONG WANG; DEKANG ZHEN;
     and SIEW YOKE NG,
14
                    Defendants.
15   _____________________________/

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          This matter was before the court on January 25, 2008 for a
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     scheduling conference.    Assistant U.S. Attorney Robert Twiss
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     appeared on behalf of the United States.       Sara Rief appeared on
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     behalf of defendants Ma and Wang; Hayes Gable appeared on behalf
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     of defendant Tran; Dwight Samuel appeared on behalf of defendant
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     Lam; Michael Chastaine appeared on behalf of defendant Hoang;
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     James Greiner appeared on behalf of defendant Zhen; and Michael
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     Bigelow appeared on behalf of defendant Ng.        After hearing, the
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     court enters the following order.
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 1        1.     All defense motions shall be filed and served no later

 2   than March 7, 2008; oppositions shall be filed and served no

 3   later than March 28, 2008; replies shall be filed and served by

 4   April 11, 2005.      A hearing on defense motions shall be held at

 5   10:00 a.m., April 25, 2008.

 6        2.     A trial confirmation hearing will be held at 10:00 a.m.,

 7   September 19, 2008.

 8        3.     Jury trial is scheduled to commence at 9:00 a.m.,

 9   October 6, 2008.      The parties anticipate a trial length of two

10   weeks.

11        4.     Pursuant to stipulation of all counsel, time will be

12   excluded from January 25 to March 7, 2008 on the basis of Local

13   Codes T2 (case complexity) and Local Code T4 (case preparation);

14   and from March 7, 2008 to April 25, 2008, on the basis of Local

15   Code E (pending motions) and Local Code T2 (case complexity).

16        IT IS SO ORDERED.

17   Dated: January 28, 2008

18                                       /s/ Edward J. Garcia
                                         EDWARD J. GARCIA, JUDGE
19                                       UNITED STATES DISTRICT COURT

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